                                   Case 24-13338             Doc        Filed 07/19/24            Page 1 of 4
 Fill in this information to identify the case:
 Debtor 1
                 Jayme Michael Perney
 Debtor 2

 (Spouse, if filing)
 United States Bankruptcy Court for the: District of Maryland___
                                                             (State)
 Case number 24-12663-NVA



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses and Charges                                                                       12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

Filing this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1

Name of creditor:          Ameris Bank                                             Court claim no. (if known):    7


Last four digits of any number you use to
identify the debtor's account:                       4541


Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
               No


               Yes. Date of the last notice:


 Part 1:        Itemize Postpetiton Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do
not include any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If
the court has previously approved an amount, indicate that approval in parentheses after the date the amount was
incurred.

     Description                                                        Dates incurred                                         Amount



   1.Late charges                                                                                                      (1) $
   2.Non-sufficient funds (NSF) fees                                                                                   (2) $
   3.Attorney Fees                                                                                                     (3) $
   4.Filing fees and court costs                                                                                       (4) $
   5.Bankruptcy/Proof of claim fees                                      06/10/2024                                    (5) $   550.00
   6.Appraisal/Broker's price opinion fees                                                                             (6) $
   7.Property inspection fees                                                                                          (7) $
   8.Tax advances (non-escrow)                                                                                         (8) $
   9.Insurance advances (non-escrow)                                                                                   (9) $
  10.Property preservation expenses. Specify:                                                                         (10) $
  11.Other. Specify:      410A                                           06/10/2024                                   (11) $   250.00
  12.Other. Specify:      Plan Review                                    03/30/2024                                   (12) $   400.00
  13.Other. Specify:      Notice of Appearance                           04/12/2024                                   (13) $   75.00
  14.Other. Specify:                                                                                                  (14) $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1.



Official Form 410S2                        Notice of Postpetition Mortgage Fees, Expenses, and Charges                                 Page 1
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Debtor 1     Jayme Michael Perney                                                        Case Number (if known)   24-12663-NVA

             First Name               Middle Name            Last Name



Part 2:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box


       I am the creditor.
       I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.


  /s/ _Mark D. Meyer Date 07/19/2024
     Signature



 Print:                   Mark D. Meyer, 15070 Title         Bankruptcy Attorney
                          First name Middle Name Last name



 Company                  Rosenberg & Associates, LLC

 Address                  4340 East West Highway, Suite 600
                          Number                  Street

                          Bethesda , MD 20814
                          City                    State      Zip Code


 Contact phone            301-907-8000                       Email:      mark.meyer@rosenberg-assoc.com




Official Form 410S2                         Notice of Postpetition Mortgage Fees, Expenses, and Charges                          Page 2
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                                                        UNITED STATES BANKRUPTCY COURT
                                                         FOR THE DISTRICT OF MARYLAND
                                                                   BALTIMORE

                              IN RE

                              JAYME MICHAEL PERNEY                               Chapter 13
                                                                                 Case NO. 24-12663-NVA
                                   Debtor(s)
                              AMERIS BANK
                              1 Corporate Drive
                              Suite 360
                              Lake Zurich, IL 60047
                                                                                 Motion No.
                                   Movant
                              v.

                              Jayme Michael Perney
                              7576 Middleburg Road
                              Keymar, MD 21757

                                   Respondent(s)



                                                               CERTIFICATE OF SERVICE
                                    I hereby certify that on the 19th day of July 2024, I reviewed the Court’s CM/ECF
       Mark D. Meyer
      MD BAR 15070
Rosenberg & Associates, LLC
                              system and it reports that an electronic copy of the Notice of Post Petition Fees will be
 4340 East West Highway,
  Suite 600 Bethesda, MD      served electronically by the Court’s CM/ECF system on the following:
 20814 301-907-8000 File
Number: 21-000927-MD-B-9

                              Rebecca A. Herr, Trustee
                              Frank E. Turney, Esquire

                                     I hereby further certify that on 19th day of July 2024, a copy of the Notice of Post
                              Petition Fees was also mailed first class mail, postage prepaid to:


                              Jayme Michael Perney
                              7576 Middleburg Road
                              Keymar, MD 21757


                              Respectfully Submitted,

                              /s/ Mark D. Meyer
                              Mark D. Meyer, Esq. # 15070
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Rosenberg & Associates, LLC
4340 East West Highway, Suite 600
Bethesda, MD 20814
301-907-8000
